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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                                 )
In re:                                           ) Chapter 11
                                                 )
ALEXANDER E. JONES,                              ) Case No. 22-33553 (CML)
                                                 )
                      Debtor.                    )
                                                 )

                   CREDITORS’ NON-UNIFORM INDIVIDUAL
          CHAPTER 11 PLAN OF LIQUIDATION FOR ALEXANDER E. JONES

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                                        INTRODUCTION

        The UCC and the Sandy Hook Families propose the following Plan pursuant to the
provisions of chapter 11 of the Bankruptcy Code. For the avoidance of doubt, Confirmation of
the Plan shall not affect the FSS Case and shall not impair FSS’s ability to prosecute the FSS Plan
and perform thereunder if confirmed.

                                          ARTICLE I.
                                         DEFINITIONS

   A. Defined Terms

       As used in the Plan, capitalized terms shall have the meanings set forth below.

       1.      “Administrative Claim” means a Claim for which a holder asserts and is
determined to be entitled to priority for costs and expenses of administration of the Debtor’s estate
pursuant to sections 503 and 507(a)(1) of the Bankruptcy Code.

       2.     “Affiliate” means an “affiliate” as defined by section 101(2) of the
Bankruptcy Code, and shall include with respect to Jones, without limitation, A. Emric
Productions LLC, AEJ Austin Holdings LLC, AEJ Holdings, LLC, Austin Shiprock Publishing,
LLC, Emric Productions, Free Speech Systems, LLC, Guadalupe County Land and Water LLC,
Info W, LLC, IWHealth, LLC, Jones Productions, Jones Productions, LLC, Jones Report, LLC,
JLJR Holdings LLC, Magnolia Management LLC, Magnolia Management, LP, Magnolia
Holdings Limited Partnership, Magnolia Limited Partnership, Planet Infowars, LLC, PLJR
Holdings LLC, Prison Planet TV, LLC, PQPR Holdings Limited LLC, RCGJ, LLC, and the
Jones Trusts.

        3.      “Allowed” or “Allowed Amount” means, with respect to any Claim against the
Debtor, except to the extent that the Plan provides otherwise, any portion thereof: (a) that is
allowed under the Plan, by Final Order, or pursuant to a settlement; (b) that is evidenced by a Proof
of Claim timely Filed by the applicable Bar Date or a request for payment of an Administrative
Claim Filed by the Administrative Claims Bar Date, as applicable (or that is not required to be
evidenced by a Filed Proof of Claim under the Plan, the Bankruptcy Code, or a Final Order); or
(c) that is scheduled by the Debtor as not disputed, contingent, or unliquidated, and for which no
Proof of Claim has been timely Filed; provided that, with respect to a Claim described in clauses
(b) and (c) above, such Claim shall be considered Allowed only if and to the extent that such Claim
is not Disallowed and no objection to the allowance of such Claim is interposed within the
applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the
Bankruptcy Court, or such an objection is so interposed and the Claim has been Allowed by a
Final Order.

       4.     “Bar Date” means the dates established by the Bankruptcy Court or otherwise
provided for by the Bankruptcy Code, the Bankruptcy Rules, or the Plan by which any Proof of
Claim must be Filed with respect to such Claims; provided that there shall be no applicable Bar
Date for Claims for which the Plan excludes from the requirement of Filing Proofs of Claim.




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       5.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–
1532, as now in effect or hereafter amended.

        6.     “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
District of Texas, Houston Division.

       7.       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
applicable to the Chapter 11 Case, promulgated under section 2075 of the Judicial Code and the
general, local, and chambers rules of the Bankruptcy Court.

        8.     “Business Day” means any day, other than a Saturday, Sunday, “legal holiday”
(as defined in Bankruptcy Rule 9006(a)(6)), or other day on which commercial banks are
authorized to close under the laws of, or are in fact closed in, the state of Texas.

        9.      “Cash” means cash and cash equivalents, including bank deposits, checks, and
other similar items in legal tender of the United States of America.

        10.     “Causes of Action” means, collectively, any and all actions, claims, cross claims,
third-party claims, interests, damages, controversies, remedies, causes of action, debts, judgments,
demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers,
privileges, licenses, Liens, indemnities, guaranties, and franchises of any kind or character
whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
contingent or non-contingent, liquidated or unliquidated, secured or unsecured, assertable, directly
or derivatively, matured or unmatured, suspected or unsuspected, disputed or undisputed, whether
arising before, on, or after the Petition Date, in contract, tort, law, equity, or pursuant to any other
theory of law or otherwise. Causes of Action also include: (a) any rights of setoff, counterclaim,
or recoupment and any claims under contracts or for breaches of duties imposed by law or in
equity; (b) the right to object to or otherwise contest Claims; (c) claims pursuant to sections 362,
510, 542, 543, 544 through 550, or 553 of the Bankruptcy Code; and (d) any claims or defenses,
including fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of the
Bankruptcy Code; and (e) any state law fraudulent transfer claim.

      11.    “Chapter 11 Case” means the above-captioned case filed under chapter 11 of the
Bankruptcy Code.

      12.    “Claim” means any “claim,” as such term is defined in section 101(5) of the
Bankruptcy Code, against the Debtor or the Debtor’s Estate.

       13.     “Claimant” means the holder of a Claim.

        14.     “Claims Objection Bar Date” means the deadline for filing objections to requests
for payment of Claims, which shall be the later of (a) ninety (90) days after the Effective Date and
(b) ninety (90) days after the Filing of the applicable Claim.

       15.     “Clerk” means the “bankruptcy clerk” as defined by Bankruptcy Rule 9001.




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       16.   “Confirmation” means the entry by the Bankruptcy Court of the Confirmation
Order on the docket of the Chapter 11 Case within the meaning of Bankruptcy Rules 5003
and 9021.

       17.    “Confirmation Date” means the date on which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Case within the meaning of Bankruptcy
Rules 5003 and 9021.

       18.     “Confirmation Order” means the order of the Bankruptcy Court confirming the
Plan under section 1129 of the Bankruptcy Code.

        19.    “Cure Amount” shall have the meaning ascribed to such term in Article VIII.C of
the Plan.

       20.     “David Jones” means Jones’s father, Dr. David Jones.

       21.    “Debtor” means Jones, the debtor in the above-captioned Chapter 11 Case. For the
avoidance of doubt, Debtor shall also refer to the Debtor as reorganized on or after the Effective
Date in accordance with the Plan.

        22.     “Disallowed” means (a) any Claim, or any portion thereof, that has been disallowed
by Final Order or settlement, as provided in the Plan or the Confirmation Order; (b) any Claim or
interest, or any portion thereof, that is not scheduled or that is scheduled at zero or as contingent,
disputed, or unliquidated and as to which a Bar Date has been established but no Proof of Claim
has been timely Filed or deemed timely Filed with the Bankruptcy Court pursuant to the
Bankruptcy Code, the Bankruptcy Rules, a Final Order of the Bankruptcy Court, or otherwise
deemed timely Filed under applicable law; or (c) any Claim, or any portion thereof, that is
not Allowed.

         23.    “Disputed” means, with respect to a Claim, any such Claim, or any portion thereof,
(a) to the extent neither Allowed nor Disallowed under the Plan or a Final Order, or (b) for which
a Proof of Claim or a motion for payment has been timely filed with the Bankruptcy Court, to the
extent the Debtor or any other party in interest has interposed a timely objection or request for
estimation in accordance with the Plan, the Bankruptcy Code, or the Bankruptcy Rules, which
objection or request for estimation has not been withdrawn or determined by Final Order. To the
extent only the Allowed amount of a Claim is disputed, such Claim shall be Allowed in the amount
not disputed, if any, and Disputed as to the balance of such Claim.

       24.     “Effective Date” means the first Business Day after the Confirmation Date on
which (a) all conditions to the occurrence of the Effective Date have been satisfied or waived
pursuant to Article XI of the Plan; (b) no stay of the Confirmation Order is in effect; and (c) the
UCC files a notice of the occurrence of the Effective Date.

       25.     “Entity” means an “entity” as defined by section 101(15) of the Bankruptcy Code.

       26.     “Erika Jones” means Jones’s wife, Erika Wulff Jones.




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       27.     “Estate” means the estate created by sections 301 and 541 of the Bankruptcy Code
upon the commencement of the Chapter 11 Case and all property (as defined in section 541 of the
Bankruptcy Code, including any Causes of Action) acquired by the Debtor after the Petition Date
through the Effective Date.

        28.    “Executory Contract” means a contract to which the Debtor is a party and that is
subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

       29.     “Exempt Assets” are all of the Debtor’s assets that are exempt pursuant to section
1123(c) of the Bankruptcy Code.

       30.     “Exempt Asset Schedule” is the schedule enumerating all Exempt Assets.

        31.    “Exculpated Parties” means, collectively, and in each case, solely in its capacity
as such: (a) the Sandy Hook Families; (b) the immediate family members of the Sandy Hook
Families; (c) the UCC; and (d) with respect to each of the foregoing (a)-(c), such Entities’
respective employees, agents, financial advisors, and attorneys, including (i) counsel to the Sandy
Hook Families, (ii) counsel to the UCC, and (iii) advisors to the UCC, including accountants,
representatives, and other Professionals, each in their capacity as such.

       32.     “Filed” means filed with the Bankruptcy Court in the Chapter 11 Case.

        33.      “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court,
or court of competent jurisdiction with respect to the subject matter, that has not been reversed,
stayed, modified, or amended, as entered on the docket in this Chapter 11 Case or the docket of
any court of competent jurisdiction, and as to which the time to appeal, or seek certiorari or move
for a new trial, reargument, or rehearing has expired and no appeal or petition for certiorari or other
proceedings for a new trial, reargument, or rehearing has been timely taken, or as to which any
appeal that has been taken or any petition for certiorari that has been or may be timely Filed has
been withdrawn or resolved by the highest court to which the order or judgment was appealed or
from which certiorari was sought or the new trial, reargument, or rehearing will have been denied,
resulted in no stay pending appeal of such order, or has otherwise been dismissed with prejudice;
provided that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order will
not preclude such order from being a Final Order.

       34.     “FSS” means Free Speech Systems, LLC.

       35.    “FSS Case” means the bankruptcy case of FSS, Case No. 22-60043 (CML),
pending before the Bankruptcy Court.

       36.     “FSS Docket” means the docket in the FSS Case.

       37.     “FSS Plan” means the Debtors’ First Amended Plan of Reorganization Under
Subchapter V of the Bankruptcy Code, filed at FSS Docket No. 756 (as may be altered, amended,
modified, or supplemented from time to time in accordance with the terms thereof).




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        38.    “General Unsecured Claim” means any Claim other than a Secured Claim,
Priority Claim, Other Priority Claim, or Subordinated Claim.

        39.    “GUC Election Cash Pool” means an amount in Cash of $50,000.00.

        40.    “GUC Trust” shall have the meaning ascribed to such term in Article IV.A of the
Plan.

       41.    “GUC Trust Agreement” means the agreement establishing and describing the
GUC Trust, which shall be submitted in connection with the Plan Supplement and shall be in form
and substance acceptable to the UCC and the Sandy Hook Families.

         42.    “GUC Trust Assets” means (a) all Jones’s assets, rights, and claims that are not
Exempt Assets, whether owned by Jones directly, indirectly, or otherwise held for the benefit of
Jones existing as of the Effective Date, in each case whether presently known or discovered at any
time by the GUC Trustee, and including, but not limited to, Cash, any tax refund to which Jones
is entitled (whether or not such refund is immediately available to Jones as of the Effective Date),
100% of Jones’s equity ownership interests in FSS, Jones’s full, direct or indirect ownership
interests in PQPR, all assets held in the Jones Trusts, any current contractual right entitling Jones
to future royalties, and any identified equitable or future interests in property, (b) the Litigation
Assets, and (c) once all Professional Fee Claims have been irrevocably paid in full or Disallowed
pursuant to one or more Final Orders of the Bankruptcy Court, any remaining Cash held in the
Professional Fee Escrow Account.

        43.    “GUC Trust Interests” means interests in the GUC Trust.

        44.    “GUC Trustee” shall have the meaning ascribed to such term in Article IV.A of the
Plan.

       45.    “Impaired” means, with respect to any class of Claims, a class of Claims that is
“impaired” as defined by section 1124 of the Bankruptcy Code.

      46.    “Insider” means an “insider” as defined by section 101(31) of the
Bankruptcy Code.

      47.       “Internal Revenue Code” means the U.S. Internal Revenue Code of 1986, as
amended.

        48.    “IRS” means the Internal Revenue Service.

       49.    “Jones” means Alexander E. Jones, the Debtor in the above-captioned
Chapter 11 Case.

        50.    “Jones Full Disclosure” shall have the meaning ascribed to such term in
Article VI.C of the Plan.

        51.    “Jones Transfer Obligation” shall have the meaning ascribed to such term in
Article VI.B of the Plan.


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       52.    “Jones Trusts” shall mean the Recharge Dynasty Trust, the 2022 Litigation
Settlement Trust, the RXXCTTGAA Trust, the Green Leaf Trust, the AEJ 2018 Trust, the
Missouri779384 Trust, and the Alexander E. Jones Descendent and Beneficiary Trust.

       53.     “Lien” means a “lien” as defined by section 101(37) of the Bankruptcy Code.

        54.    “Litigation Assets” are those litigation-related assets and Causes of Action to be
vested in the GUC Trust, as described in Article IV.E of the Plan.

        55.    “Litigation Committee” shall have the meaning ascribed to such term in
Article IV.B of the Plan.

        56.    “Material Misstatement” shall have the meaning ascribed to such term in
Article VI.C of the Plan.

        57.    “Non-Dischargeable Claims” means any and all claims arising out of the following
proceedings that have not been dismissed: (a) Heslin v. Jones, Cause No. D-1-GN-18-001835, in
the 261st District Court of Travis County, Texas; (b) Pozner v. De La Rosa, et al., Case No. D-1-
GN-001842, in the Judicial District Court of Travis County, Texas; (c) Lafferty v. Jones, et al.,
Case No. UWY-CV18-6046436-S, in the Judicial District of Waterbury of the Connecticut
Superior Court; (d) Sherlach v. Jones, et al., Case No. UWY-CV18-6046437-S, in the Judicial
District of Waterbury of the Connecticut Superior Court; and (e) Sherlach v. Jones, et al.,
Case No. UWY-CV18-6046438-S, in the Judicial District of Waterbury of the Connecticut
Superior Court, in each case, to the extent such claims were determined to be non-dischargeable
by the Bankruptcy Court’s memorandum decisions dated October 19, 2023,1 or pursuant to any
further Final Order.

        58.  “Other Priority Claim” means any Claim other than an Administrative Claim or a
Priority Tax Claim entitled to priority in right of payment under section 507(a) of the
Bankruptcy Code, including any Priority DSO Claim.

       59.    “Petition Date” means December 2, 2022, the date on which Jones commenced the
Chapter 11 Case.

       60.     “Plan” means this Creditors’ Non-Uniform Individual Chapter 11 Plan of
Liquidation for Alexander E. Jones, proposed by the UCC and the Sandy Hook Families, as it may
be amended, modified, and/or supplemented from time to time.

        61.    “Plan Supplement” means the compilation of documents and forms of documents,
term sheets, agreements, schedules, and exhibits to the Plan (or draft forms thereof, in each case,
as may be altered, amended, modified, or supplemented from time to time in accordance with the
terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules), and any
additional documents Filed prior to the Effective Date as amendments to the Plan Supplement,
each of which shall be acceptable to the UCC and the Sandy Hook Families. The Plan Supplement

1
    Memorandum Decision on Connecticut Plaintiffs’ Motion for Summary Judgment Against Jones, Adv. Pro.
    No. 23-03037 [Docket No. 76]; Memorandum Decision on Texas Plaintiffs’ Motion for Summary Judgment
    Against Jones, Adv. Pro. No. 23-03035 [Docket No. 46].



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may include the following (including drafts or forms, as applicable), or the material terms of the
following, as applicable: (a) GUC Trust Agreement; (b) the Schedule of Assumed Executory
Contracts and Unexpired Leases; (c) the Schedule of Rejected Executory Contracts and Unexpired
Leases; (d) the Exempt Asset Schedule; and (e) any other necessary documentation related to
implementation of the Plan.

       62.     “Premarital Agreement” is the agreement by and between Jones and Erika Jones,
dated as of December 18, 2016.

       63.     “Priority Claim” means an Administrative Claim, a Priority Tax Claim, or a
Professional Fee Claim.

        64.    “Priority Claims Bar Date” means the deadline for filing requests for payment of
Priority Claims, which shall be thirty (30) days after the Effective Date.

        65.    “Priority DSO Claim” means an Allowed Claim for prepetition domestic support
obligations that is entitled to priority under section 507(a)(1) of the Bankruptcy Code.

        66.      “Priority Tax Claim” means a Claim for which the holder asserts and is determined
to be entitled to priority under section 507(a)(7) of the Bankruptcy Code.

       67.    “Professional” means an Entity retained pursuant to a Bankruptcy Court order in
accordance with section 327 or 1103 of the Bankruptcy Code and to be compensated for services
rendered and expenses incurred pursuant to sections 327, 328, 329, 330, 331, and 363 of the
Bankruptcy Code.

       68.     “Professional Fee Claim” means a Claim by a Professional seeking an award by
the Bankruptcy Court of compensation for services rendered or reimbursement of expenses
incurred through and including the Effective Date under sections 330, 331, 503(b)(2), 503(b)(3),
503(b)(4), or 503(b)(5) of the Bankruptcy Code to the extent such fees and expenses have not been
previously paid.

       69.    “Professional Fee Escrow Account” means an interest-bearing account funded by
the Debtor with Cash on or before the Effective Date in an amount equal to the Professional Fee
Escrow Amount.

       70.    “Professional Fee Escrow Amount” means the total amount of Professional Fee
Claims estimated pursuant to Article II.B.3 of the Plan.

       71.   “Protective Order” means the Stipulated Confidentiality Agreement and Protective
Order [Docket No. 159].

       72.    “Proof of Claim” means a written proof of claim Filed against the Debtor in the
Chapter 11 Case by the applicable Bar Date.

       73.     “PQPR” means PQPR Holdings Limited LLC.




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        74.     “Released Parties” means, collectively, and in each case, solely in its capacity as
such: (a) the Sandy Hook Families; (b) the immediate family members of the Sandy Hook
Families; (c) the UCC; (d) with respect to each of the foregoing (a)-(c), such Entities’ respective
current and former Affiliates, and such Entities’ and their current and former Affiliates’ current
and former successors, assigns, employees, agents, financial advisors, and attorneys, including
(i) counsel to the Sandy Hook Families, (ii) counsel to the UCC, and (iii) advisors to the UCC,
including accountants, representatives, and other Professionals, each strictly in their capacity
as such; (e) members of Jones’s family that are legally minors as of the Effective Date; and (f) any
Insider or Affiliate of Jones that has made, or has caused to be made, a Release Settlement
Payment.

        75.     “Releasing Parties” means (a) Jones and his Estate; (b) the UCC; (c) the Sandy
Hook Families; (d) any Insider or Affiliate of Jones that has made, or has caused to be made, a
Release Settlement Payment; and (e) all holders of Claims, Interests, or Cause of Actions that
(i) vote to accept the Plan or (ii) are Unimpaired and do not timely file an objection to the releases
contained in Article X of the Plan that is not resolved before Confirmation.

       76.    “Release Settlement Payment” means a payment to the GUC Trust of an amount
of Cash acceptable to (a) prior to the Effective Date, the UCC, and (b) after the Effective Date, the
GUC Trustee, as determined in accordance with the GUC Trust Agreement, on account of Trust
Cause of Action against any Insider or Affiliate of Jones.

       77.     “Sandy Hook Families” means Mark Barden, Jacqueline Barden, Francine
Wheeler, David Wheeler, Ian Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg,
William Sherlach, Carlos M. Soto, Donna Soto, Jillian Soto-Marino, Carlee Soto Parisi, Robert
Parker, Erica Ash (aka Erica Lafferty), Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique
De La Rosa, and Marcel Fontaine.

       78.      “Sandy Hook Family Claims” means any Claim for which a Proof of Claim has
been Filed in the Chapter 11 Case by any member of the Sandy Hook Families.

         79.    “Schedule of Assumed Executory Contracts and Unexpired Leases” means the
list of Executory Contracts and Unexpired Leases that will be assumed by the Debtor pursuant to
the Plan as of the Effective Date, which list shall be included in the Plan Supplement.

        80.     “Schedule of Rejected Executory Contracts and Unexpired Leases” means the list
of Executory Contracts and Unexpired Leases that will be rejected by the Debtor pursuant to the
Plan as of the Effective Date, which list shall be included in the Plan Supplement.

       81.    “Schedules and Statements” means, collectively, the Third Amended Schedules of
Assets and Liabilities [Docket No. 501] and the Third Amended Statement of Financial Affairs
[Docket No. 502], as may be amended and supplemented from time to time.

        82.     “Secured Claim” means a Claim: (a) secured by a Lien on property in which the
applicable Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to
applicable law or by reason of a Bankruptcy Court order, or that is subject to setoff pursuant to
section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s interest in such
Estate’s interest in such property or to the extent of the amount subject to setoff, as applicable, as


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determined pursuant to section 506(a) of the Bankruptcy Code; or (b) otherwise Allowed pursuant
to the Plan as a Secured Claim; provided that no Claim asserted by any Insider or Affiliate of the
Debtor shall be a Secured Claim.

        83.     “Specific Disclosure Statement” means the Creditors’ Specific Disclosure
Statement as Filed or amended, including all exhibits and schedules attached thereto and references
therein that relate to the Plan, that is prepared and distributed in accordance with the Bankruptcy
Code, the Bankruptcy Rules, and any other applicable law and approved by the Bankruptcy Court
pursuant to section 1125 of the Bankruptcy Code.

       84.     “Subordinated Claim” means a Claim subject to subordination pursuant to
sections 509(c) and/or 510(c) of the Bankruptcy Code, or any other provision of the Bankruptcy
Code or applicable law subordinating such claim to any General Unsecured Claim.

        85.    “Trust Causes of Action” shall have the meaning ascribed to such term in
Article IV.E.2 of the Plan.

       86.    “UCC” means the Official Committee of Unsecured Creditors in this Chapter 11
Case, appointed pursuant to Docket No. 42.

      87.     “Unexpired Lease” means a lease to which the Debtor is a party that is subject to
assumption or rejection under section 365 or section 1123 of the Bankruptcy Code.

       88.    “Unimpaired” means, with respect to a class of Claims, a class of Claims that is
not Impaired.

        89.    “U.S. Trustee” means the Office of the United States Trustee for the Southern
District of Texas.

   B. Rules of Interpretation

       For purposes of the Plan:

        1.     in the appropriate context, each term, whether stated in the singular or the plural,
shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or
neuter gender shall include the masculine, feminine, and the neuter gender;

        2.     any reference herein to a contract, lease, instrument, release, indenture, or other
agreement or document being in a particular form or on particular terms and conditions means that
the referenced document shall be substantially in that form or substantially on those terms and
conditions;

        3.     any reference herein to an existing document, schedule, or exhibit, whether or not
Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it may
thereafter be amended, restated, supplemented, or otherwise modified;

       4.      any reference to an Entity as a holder of a Claim includes that Entity’s successors
and assigns;


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        5.      unless otherwise specified, all references herein to “Articles” are references to
Articles of the Plan;

        6.       unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the
Plan in its entirety rather than to a particular portion of the Plan;

        7.       subject to the provisions of any contract, certificate of incorporation, bylaw,
instrument, release, or other agreement or document entered into in connection with the Plan, the
rights and obligations arising pursuant to the Plan shall be governed by, and construed and enforced
in accordance with, applicable federal law, including the Bankruptcy Code and the Bankruptcy
Rules, or, if no rule of law or procedure is supplied by federal law (including the Bankruptcy Code
and the Bankruptcy Rules) or otherwise specifically stated, the laws of the State of Texas, without
giving effect to the principles of conflict of laws;

        8.     captions and headings to Articles are inserted for convenience of reference only and
are not intended to be a part of or to affect the interpretation of the Plan;

        9.    unless otherwise specified herein, the rules of construction set forth in section 102
of the Bankruptcy Code shall apply;

       10.      all references to docket numbers of documents Filed in this Chapter 11 Case are
references to the docket numbers under the Bankruptcy Court’s CM/ECF system;

       11.    all references to statutes, regulations, orders, rules of courts, and the like shall mean
as amended from time to time, and as applicable to this Chapter 11 Case, unless otherwise stated;

       12.     all references herein to consent, acceptance, or approval shall be deemed to include
the requirement that such consent, acceptance, or approval be evidenced by a writing, which may
be conveyed by counsel for the respective parties, or, if applicable, the GUC Trustee, that have
such consent, acceptance, or approval rights, including by electronic mail;

        13.    any term used in capitalized form herein that is not otherwise defined but that is
used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term
in the Bankruptcy Code or the Bankruptcy Rules, as the case may be; and

       14.     the words “include” and “including,” and variations thereof, shall not be deemed to
be terms of limitation, and shall be deemed to be followed by the words “without limitation.”

   C. Computation of Time

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a
transaction may occur pursuant to the Plan shall occur on a day that is not a Business Day, then
such transaction shall instead occur on the next succeeding Business Day.




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   D. Reference to Monetary Figures

      All references in the Plan to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided herein.

   E. Controlling Document

        In the event of an inconsistency between the Plan and the Specific Disclosure Statement,
the terms of the Plan shall control in all respects. In the event of an inconsistency between the
Confirmation Order and the Plan, the Confirmation Order shall control.

                               ARTICLE II.
              ADMINISTRATIVE CLAIMS AND PRIORITY TAX CLAIMS

   A. Administrative Claims.

         To the extent that Administrative Claims have not been paid in full or otherwise satisfied
during this Chapter 11 Case, each holder of an Allowed Administrative Claim will receive in full
and final satisfaction of its Allowed Administrative Claim an amount of Cash equal to the amount
of the unpaid portion of such Allowed Administrative Claim in accordance with the following:
(a) if such Administrative Claim is Allowed prior to the Effective Date, on the Effective Date or
in the ordinary course of business, whichever is later; or (b) if such Administrative Claim is not
Allowed as of the Effective Date, no later than thirty (30) days after the date on which an order
Allowing such Administrative Claim becomes a Final Order, or as soon as reasonably practicable
thereafter. Any objection to an Administrative Claim must be Filed by the Priority Claims
Objection Bar Date.

HOLDERS OF ADMINISTRATIVE CLAIMS THAT ARE REQUIRED TO FILE AND
SERVE A REQUEST FOR PAYMENT OF SUCH ADMINISTRATIVE CLAIMS THAT
DO NOT FILE AND SERVE SUCH A REQUEST BY THE PRIORITY CLAIMS BAR
DATE SHALL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
ASSERTING SUCH ADMINISTRATIVE CLAIMS AGAINST THE DEBTOR, THE
ESTATE OR THE PROPERTY OF ANY OF THE FOREGOING, AND SUCH
ADMINISTRATIVE CLAIMS SHALL BE DEEMED DISCHARGED AS OF THE
EFFECTIVE DATE WITHOUT THE NEED FOR ANY OBJECTION FROM THE
DEBTOR OR ANY NOTICE TO OR ACTION, ORDER OR APPROVAL OF THE
BANKRUPTCY COURT OR ANY OTHER ENTITY.

   B. Professional Fee Claims.

       1.      Final Professional Fee Applications and Payment of Professional Fee Claims.

        All final requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred through and including the Effective Date must be Filed no
later than the Priority Claims Bar Date. The Bankruptcy Court shall determine the Allowed
Amounts of such Professional Fee Claims after notice and a hearing in accordance with the
procedures established by the Bankruptcy Code and the Bankruptcy Rules. Jones shall pay to the
Professionals the amount of the Allowed Professional Fee Claims owing to such Professionals in


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Cash, including from funds held in the Professional Fee Escrow Account, as soon as reasonably
practicable after such Professional Fee Claims are Allowed by entry of a Final Order of the
Bankruptcy Court. Any objection to a Professional Fee Claim must be Filed by the Priority Claims
Objection Bar Date.

       2.      Professional Fee Escrow Account.

        As soon as is reasonably practicable after the Confirmation Date and no later than the
Effective Date, the Debtor shall establish and fund the Professional Fee Escrow Account with Cash
equal to the Professional Fee Escrow Amount. The Professional Fee Escrow Account shall be
maintained in trust solely for the Professionals and for no other Entities until all Professional Fee
Claims Allowed by the Bankruptcy Court have been irrevocably paid in full to the Professionals
pursuant to one or more Final Orders of the Bankruptcy Court. No Liens or Claims shall encumber
the Professional Fee Escrow Account or Cash held therein. Funds held in the Professional Fee
Escrow Account shall not be considered property of the Estate or the Debtor.

        Distributions to holders of Professional Fee Claims shall be made in accordance with
Article VI.A.1 of the Plan. When all Professional Fee Claims Allowed by the Bankruptcy Court
have been irrevocably paid in full to the Professionals or Disallowed pursuant to one or more Final
Orders of the Bankruptcy Court, any remaining funds held in the Professional Fee Escrow Account
shall promptly be paid to the GUC Trust without any further notice to or action, order, or approval
of the Bankruptcy Court or any other Entity.

       3.      Professional Fee Escrow Amount.

        The Professionals shall provide a reasonable and good-faith estimate of their unpaid
Professional Fee Claims incurred in rendering services to the Debtor and Estate before and as of
the Effective Date projected to be outstanding as of the Effective Date, and shall deliver such
estimate to the Debtor and the UCC no later than five (5) days before the anticipated Effective
Date; provided, however, that such estimate shall not be considered or deemed an admission or
limitation with respect to the amount of the fees and expenses that are the subject of the
Professional’s final request for payment of Professional Fee Claims and such Professionals are not
bound to any extent by the estimates. If a Professional does not provide an estimate, the Debtor,
in consultation with the UCC, may estimate the unpaid and unbilled fees and expenses of such
Professional. The total aggregate amount so estimated as of the Effective Date shall be used by
the Debtor to determine the amount to be funded to the Professional Fee Escrow Account.

   C. Priority Tax Claims

        Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a less
favorable treatment, in full and final satisfaction, compromise, settlement, release, and discharge
of, and in exchange for, each Allowed Priority Tax Claim, each holder of such Allowed Priority
Tax Claim shall receive treatment in a manner consistent with section 1129(a)(9)(C) of the
Bankruptcy Code.




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                                ARTICLE III.
                   TREATMENT AND CLASSIFICATION OF CLAIMS

   A. Classification of Claims

       All Claims against the Debtor of whatever nature, whether or not scheduled, liquidated or
unliquidated, absolute or contingent, or arising from the rejection or assumption of an Executory
Contract and/or Unexpired Lease, whether resulting in a Claim that is Allowed or not, shall be
bound by the provisions of the Plan. The Claims are hereby classified as follows:

    Class              Claim/Interest                 Status               Voting Rights
      1        Secured Claims                     Unimpaired        Not entitled to vote
                                                                    (presumed to accept)
      2        Other Priority Claims              Unimpaired        Not entitled to vote
                                                                    (presumed to accept)
      3        General Unsecured Claims           Impaired          Entitled to vote
      4        Subordinated Claims                Impaired          Not entitled to vote
                                                                    (deemed to reject)

   B. Treatment of Claims

      Holders of Claims classified in Article III.A that are Allowed shall be satisfied in the
manner set forth below.

       1.     Class 1 – Secured Claims.

              a. Classification. Class 1 consists of all Secured Claims.

              b. Treatment. Each holder of a Secured Claim that is Allowed shall receive
                 payment in full in Cash on account of such holder’s Allowed Secured Claim.

              c. Voting. Class 1 is Unimpaired under the Plan. Holders of Secured Claims are
                 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of
                 the Bankruptcy Code. Therefore, such holders are not entitled to vote to accept
                 or reject the Plan.

              d. Claimants. There is one (1) Class 1 Claimant, the Security Bank of Crawford,
                 which has Filed a Proof of Claim in the amount of $80,161.04 (Claim No. 2).

       2.     Class 2 – Other Priority Claims.

              a. Classification. Class 2 consists of all Other Priority Claims.

              b. Treatment. Each holder of an Other Priority Claim that is Allowed shall
                 receive payment in full in Cash on account of such holder’s Allowed Other
                 Priority Claim.




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      c. Voting. Class 2 is Unimpaired under the Plan. Holders of Other Priority
         Claims are conclusively presumed to have accepted the Plan pursuant to section
         1126(f) of the Bankruptcy Code. Therefore, such holders are not entitled to
         vote to accept or reject the Plan.

      d. Claimants. Class 2 Claimants include one (1) holder of a Priority DSO Claim
         who is not Erika Jones, including the Priority DSO Claim identified at item 4.12
         in the Schedules and Statements. Class 2 Claimants shall also include any other
         holders of Other Priority Claims. For the avoidance of doubt, Erika Jones is
         not entitled to any Priority DSO Claims or any Other Priority Claims and any
         Claim asserted by, or on behalf of, Erika Jones on the basis of the Premarital
         Agreement will be treated as a Class 4 Subordinated Claim.

3.    Class 3 – General Unsecured Claims.

      a. Classification. Class 3 consists of all General Unsecured Claims.

      b. Treatment. Each holder of a General Unsecured Claim that is Allowed shall
         be entitled to receive, at such holder's election, (a) the holder’s pro rata share
         of the GUC Election Cash Pool, such pro rata share to be calculated based on
         the total amount of Allowed General Unsecured Claims held by holders that
         make such election, or (b) the holder’s pro rata share of the GUC Trust
         Interests, such pro rata share to be calculated based on the aggregate amount of
         Allowed General Unsecured Claims that make such election. For the avoidance
         of doubt, however, any holder of a General Unsecured Claim that has waived
         that holder’s Claim is not entitled to such pro rata share under this
         Article III.B.3.b.

      c. Voting. Class 3 is Impaired under the Plan. Holders of General Unsecured
         Claims are entitled to vote to accept or reject the Plan.

      d. Claimants. At present, there are twenty-five (25) Class 3 Claimants, (a) the
         twenty-one (21) Class 3 Claimants consisting of individuals comprising the
         Sandy Hook Families; (b) American Express National Bank, which has Filed a
         Proof of Claim in the amount of $149,678.58 (Claim No. 1); (c) Reeves Law,
         PLLC, which has Filed a Proof of Claim in the amount of $24,611.13
         (Claim No. 5); (d) the City of Austin, which has Filed a Proof of Claim in the
         amount of $86.60 (Claim No. 3); and (e) the IRS to the extent that any portion
         of its Claim in the amount of $586,884.64 (Claim No. 4) is deemed to be a
         non-Priority Tax Claim. However, additional Claims may be Allowed General
         Unsecured Claims if filed by the applicable Bar Date or other time period
         provided for by the Plan or an order of the Bankruptcy Court, and otherwise
         Allowed.

4.    Class 4 – Subordinated Claims.

      a. Classification. Class 4 consists of all Subordinated Claims.



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               b. Treatment. Holders of Subordinated Claims, regardless of whether such
                  claims are Allowed, are not entitled to any distributions or to receive or retain
                  any property under the Plan.

               c. Voting. Class 4 is Impaired under the Plan. Holders of Subordinated Claims
                  are conclusively deemed to have rejected the Plan pursuant to section 1126(g)
                  of the Bankruptcy Code. Therefore, such holders are not entitled to vote to
                  accept or reject the Plan.

               d. Claimants. At present, there is one (1) Class 4 Claimant, FSS, which has Filed
                  a Proof of Claim in the amount of $0.00 (Claim No. 26). However, additional
                  Claims may be Subordinated Claims if filed by the applicable Bar Date or other
                  time period provided for by the Plan, and otherwise Allowed. For the avoidance
                  of doubt, any Claim asserted by, or on behalf of, Erika Jones on the basis of the
                  Premarital Agreement will be treated as a Subordinated Claim.

                                        ARTICLE IV.
                                       THE GUC TRUST

   A. The GUC Trust

        On or before the Effective Date, a trust shall be established for the benefit of holders of
General Unsecured Claims that elect to receive GUC Trust Interests (the “GUC Trust”). The GUC
Trust shall be governed and administered in accordance with the GUC Trust Agreement, which
sets forth, inter alia, the powers, authority, responsibilities, and duties of the GUC Trustee.

        The purpose of the GUC Trust shall be the liquidation and administration of the GUC Trust
Assets and making distributions to holders of GUC Trust Interests in accordance with the terms of
the Plan and the GUC Trust Agreement.

   B. The GUC Trustee

        The GUC Trust shall be administered by a trustee who shall be chosen by the Sandy Hook
Families in accordance with the GUC Trust Agreement (the “GUC Trustee”). On or before the
Effective Date, the GUC Trustee, on behalf of the Debtor, shall execute the GUC Trust Agreement
and shall take all other steps necessary to establish the GUC Trust pursuant to the GUC Trust
Agreement and consistent with the Plan. For the avoidance of doubt, if, for any reason the
individual or entity chosen to serve as the GUC Trustee shall need to be replaced, the Sandy Hook
Families shall appoint a subsequent GUC Trustee unless otherwise provided by the GUC Trust
Agreement.       The GUC Trust Agreement shall establish an oversight committee
(the “Litigation Committee”) consisting of members of the Sandy Hook Families appointed in
accordance with the terms of the GUC Trust Agreement to oversee performance of the GUC
Trustee’s duties with respect to the GUC Trust Assets and otherwise serve the functions to be
described in the Plan and the GUC Trust Agreement.

       The GUC Trustee shall be responsible for all decisions and duties with respect to the GUC
Trust Assets, subject to the authority granted to it under the Plan, the Confirmation Order, and the
GUC Trust Agreement, as applicable, and shall file with the Bankruptcy Court periodic public


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reports on the status of claims reconciliation and distributions, which reports may be included in
the quarterly reporting required by the U.S. Trustee. In addition, the GUC Trustee shall issue
quarterly written reports and engage in update calls upon reasonable request with representatives
of the Sandy Hook Families.

        The GUC Trustee shall owe fiduciary duties to all holders of GUC Trust Interests
consistent with the fiduciary duties a member of an official committee appointed pursuant to
section 1102 of the Bankruptcy Code owes to its constituents, and the Litigation Committee must
consent to any proposed material action, including any settlement in respect of any action, by the
GUC Trustee in accordance with the terms of the GUC Trust Agreement.

   C. Assignments

       On the Effective Date, the Non-Dischargeable Claims will be assigned to the GUC Trust.

   D. GUC Trust Assets

        On the Effective Date, all GUC Trust Assets will vest in the GUC Trust. For the avoidance
of doubt, the Exempt Assets will not vest in the GUC Trust. The GUC Trust Interests shall only
be transferrable in the sole discretion of the GUC Trustee in accordance with the terms of the GUC
Trust Agreement.

        Under section 1141(b) of the Bankruptcy Code, the GUC Trust Assets shall be assigned,
transferred, and vest in the GUC Trust upon the occurrence of the Effective Date, free and clear of
all Claims, Liens, encumbrances, and interests; provided, however, that the GUC Trustee may
abandon or otherwise not accept any assets that the GUC Trustee believes, in good faith, to have
no value to, or will be unduly burdensome to, the GUC Trust in accordance with the terms of the
GUC Trust Agreement. Any assets that the GUC Trustee so abandons (whether before or after the
Effective Date) or otherwise does not accept shall not be GUC Trust Assets.

   E. Litigation Assets

       The following assets constitute “Litigation Assets” and will vest in the GUC Trust and be
administered by the GUC Trustee in accordance with the terms described herein and in the GUC
Trust Agreement:

        1.     Initial Litigation Funding. A total of $500,000 in Cash, which shall be funded by
Jones’s Estate to the GUC Trust for administrative expenses in connection with administering the
Litigation Assets; provided that the source and manner of funding shall be acceptable to the GUC
Trustee; provided, further, that a portion of the proceeds from liquidation of the Litigation Assets
may be retained by the GUC Trustee in its discretion as continued funding for administration of
the Litigation Assets.

        2.      Trust Causes of Action. All Causes of Action (a) belonging to Jones’s Estate
(including those belonging to the Jones Trusts), whether or not initially asserted prior to
Confirmation, including, but not limited to, any estate claims or causes of action against or related
to Jones, any Insider or Affiliate of Jones, and (b) the Texas State Court fraudulent conveyance
action filed by Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel


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Fontaine previously removed and then transferred to the Bankruptcy Court (together, such Causes
of Action, the “Trust Causes of Action”).

     3.      Release Settlement Payments. All Release Settlement Payments made to the
GUC Trust shall immediately vest in the GUC Trust upon payment.

        4.     Books & Records. Jones’s books and records, including all documents,
communications, and information of Jones, any Jones Trusts, and any entities owned or controlled
by Jones, including such documents, communications, and information protected by the attorney-
client privilege, the work-product privilege, or any other applicable evidentiary privileges
pertaining in any way to the Litigation Assets. All discovery obtained by the UCC during the
Chapter 11 Case shall be transferred to the GUC Trust.

        5.     Investigative Powers. The GUC Trust and the GUC Trustee will retain the right
to conduct any discovery related to the acts, conduct, or property, or to the liabilities and financial
condition of Jones, or to any matter which may affect the administration of Jones’s Estate or any
Trust Causes of Action, or to Jones’s right to a discharge, under Bankruptcy Rule 2004, to the full
extent that such powers were available prior to the Effective Date.

        6.      Audit Powers. The GUC Trust or the GUC Trustee may retain a professional to
conduct financial audits of Jones as necessary and request information from applicable third parties
in connection with the same (including Erika Jones and David Jones) to ensure the veracity of
financial disclosures.

       7.       Privileges. All privileges in respect of the Trust Causes of Action, including the
attorney-client privilege, held by Jones shall transfer to the GUC Trust.

   F. Confidentiality

        The GUC Trustee shall be deemed a party to the Protective Order and shall be permitted
to receive Discovery Material, Confidential Material, and Professionals’ Eyes Only Material (each
as defined in the Protective Order) in accordance with the terms thereof.

   G. Tax Treatment of GUC Trust Under Applicable Laws

        The GUC Trust is intended to be treated, and shall be reported, as a “qualified settlement
fund” within the meaning of section 468B of the Internal Revenue Code and Treasury Regulations
section 1.468B-1 for U.S. federal income tax purposes and shall be treated consistently for state
and local tax purposes to the extent applicable. The GUC Trustee shall be the “administrator” of
the GUC Trust within the meaning of Treasury Regulations section 1.468B-2(k)(3).
Notwithstanding the foregoing provisions of this Article IV.G, (a) the GUC Trust shall be
implemented with the objective of maximizing tax efficiency to the holders of GUC Trust Interests
and (b) to the extent that the GUC Trust is not expected to be treated as a “qualified settlement
fund” under applicable law or in the event of a final determination under section 1313(a) of the
Internal Revenue Code that the GUC Trust does not qualify as a “qualified settlement fund,” the
holders of GUC Trust Interests and the GUC Trustee intend that the GUC Trust be treated as a
partnership, liquidating trust, or other tax-efficient entity for U.S. federal income tax purposes and



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will take all actions reasonably necessary to cause the GUC Trust to be treated as such a partnership
or other tax-efficient entity.

        The GUC Trustee shall be responsible for filing all tax returns of the GUC Trust and the
payment, out of the assets of the GUC Trust in accordance with the GUC Trust Agreement, of any
taxes due by or imposed on the GUC Trust. The GUC Trustee may request an expedited
determination of taxes under section 505(b) of the Bankruptcy Code for all tax returns filed by or
on behalf of the GUC Trust for all taxable periods through the dissolution thereof. Nothing in this
Article IV.G shall be deemed to determine, expand, or contract the jurisdiction of the Bankruptcy
Court under section 505 of the Bankruptcy Code.

   H. Transferability and Certain Securities Law Matters

        Unless the GUC Trust Agreement expressly provides otherwise, any and all GUC Trust
Interests shall be non-transferable other than if transferred by will, intestate succession, or
otherwise by operation of law. In addition, any and all GUC Trust Interests will not be registered
pursuant to the Securities Act or any applicable state or local securities law pursuant to section
1145 of the Bankruptcy Code, and will be exempt from the Investment Company Act of 1940, as
amended, pursuant to sections 7(a) and 7(b) of that Act and section 1145 of the Bankruptcy Code.

   I. Retention of Professionals

        The GUC Trustee, upon consultation with the UCC prior to the Effective Date, may enter
into employment agreements and retain professionals, including any necessary accountants,
attorneys, financial advisors, or other consultants, in furtherance of the administration of the assets
of the GUC Trust, without further order of the Bankruptcy Court.

                                 ARTICLE V.
                   TREATMENT OF NON-DISCHARGEABLE CLAIMS

        The Plan will not discharge any Non-Dischargeable Claim and the rights of the Sandy
Hook Families, acting through the GUC Trust, to exercise all rights, remedies, and other legal
entitlements, whether arising under state, federal, or foreign law, with respect to the
Non-Dischargeable Claims are expressly preserved and nothing to the contrary in the Plan will
limit, affect, or otherwise impact such rights; provided that no individual holder of any Sandy
Hook Family Claim shall be entitled to receive more than the aggregate Allowed amount of such
Holder’s Sandy Hook Family Claim on account of such Claims pursuant to the Plan.

                                      ARTICLE VI.
                               MEANS OF IMPLEMENTATION

       The Plan will be implemented in accordance with the following provisions:

   A. Plan Distributions

      1.      Distributions to holders of Allowed Priority Claims. Distributions to holders of
Allowed Priority Claims will be made as follows:



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               a. Professional Fee Claims. The amount of Professional Fee Claims owing to the
                  Professionals shall be paid in Cash to the applicable Professionals from the
                  funds held in the Professional Fee Escrow Account as soon as reasonably
                  practicable after such Professional Fee Claims are Allowed by a Final Order of
                  the Bankruptcy Court. To the extent the funds held in the Professional Fee
                  Escrow Account are insufficient to satisfy the Allowed Amount of Professional
                  Fee Claims owing to the Professionals, such Professionals shall have an
                  Allowed Administrative Claim for any such deficiency, which shall be satisfied
                  by the GUC Trustee in Cash once Allowed or as soon as reasonably practicable
                  thereafter.

               b. Priority Tax Claims and Administrative Claims. Holders of Allowed Priority
                  Tax Claims and Allowed Administrative Claims shall receive Cash, which shall
                  be satisfied by the GUC Trustee once Allowed or as soon as reasonably
                  practicable thereafter.

      2.      Distributions to holders of Allowed Secured Claims. Distributions to holders of
Allowed Secured Claims will be made on the Effective Date, which shall be satisfied in Cash once
Allowed or as soon as reasonably practicable thereafter.

        3.     Distributions to holders of Other Priority Claims. Holders of Allowed Other
Priority Claims shall receive Cash, which shall be satisfied by the GUC Trustee once Allowed or
as soon as reasonably practicable thereafter.

       4.      Distributions to holders of Allowed General Unsecured Claims. Holders of
Allowed General Unsecured Claims shall receive, at their election, either (a) satisfaction of their
pro rata share of the General Unsecured Claim Cash Pool in full in Cash on the Effective Date, or
as soon as reasonably practicable thereafter, or (b) their pro rata share of GUC Trust Interests in
accordance with the provisions of Article III and Article IV herein.

   B. Jones Transfer Obligation

       Jones shall be fully responsible for taking all necessary actions required to vest the GUC
Trust Assets in the GUC Trust (the “Jones Transfer Obligation”). The Jones Transfer Obligation
begins on the Confirmation Date and must be completed in full no later than 30 (thirty) days after
the Confirmation Date. To the extent that Jones fails or refuses to comply with the Jones Transfer
Obligation, there shall be no limitation on the rights and ability of the Sandy Hook Families, the
GUC Trustee, and the UCC to petition any court of competent jurisdiction to enforce the Jones
Transfer Obligation pursuant to section 1142(b) of the Bankruptcy Code, any other provision of
the Bankruptcy Code, or applicable non-bankruptcy law or to seek any other appropriate remedies
under the Bankruptcy Code or applicable non-bankruptcy law.

   C. Jones Full Disclosure

        No later than thirty (30) days after the Confirmation Date, Jones shall provide an affidavit
(the “Jones Full Disclosure”) containing all facts and information concerning his assets, rights,
claims, interests, and/or any Causes of Action, held either directly or indirectly and including the
assets set forth on the Exempt Asset Schedule, and any transfers of the Debtor’s property exceeding


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$5,000 as to a gift for no exchange of goods or services and $25,000 as to all other transfers in the
ten (10) years prior to the Petition Date and running through the Effective Date. Discovery of any
Material Misstatement in the Jones Full Disclosure shall (a) void any discharge granted under the
Plan, and (b) subject Jones to all penalties available under applicable law.

        “Material Misstatement” means an omission by Jones or his representatives to disclose in
the Jones Full Disclosure (a) an asset, right, claim, interest, or Cause of Action of the estate, held
either directly or indirectly and including the assets set forth on the Exempt Asset Schedule, that
reasonably could be argued to have a value of $5,000 or more; (b) any voluntary or involuntary
transfer of cash or property within the ten (10) years prior to the Petition Date that reasonably
could be determined to have a value of $5,000 or more that was not made in exchange for any
service, product or other asset; or (c) any other voluntary or involuntary transfer of cash or property
within the ten (10) years prior to the Petition Date that reasonably could be argued to have a value
of $25,000 or more. It shall not be a defense to a Material Misstatement that the subject asset(s)
or transfer(s) were omitted inadvertently or based on good faith or mistaken judgment.

   D. Additional Obligations

        Jones shall cooperate in good faith with the Sandy Hook Families, the UCC, the GUC
Trustee, the Jones Estate, FSS, and their respective representatives, in carrying out the terms of
the Plan, including by responding timely to reasonable discovery requests in connection with
actions by the GUC Trustee and cooperating in pursuing and obtaining any tax refund or royalty
amounts to which Jones or the GUC Trust is entitled.

       Prior to the Effective Date, Jones shall also provide reasonable notice to the UCC in
advance of the formation and/or incorporation of any trust or other entity on his behalf, or from
which he expects to potentially receive distributions, dividends, or other payments, or in which he
owns a direct or indirect beneficial interest.

   E. Premarital Agreement

       Jones shall, in any event, cooperate with the GUC Trustee’s efforts to investigate and
pursue any Causes of Action arising from or related to payments made pursuant to the Premarital
Agreement for the benefit of the GUC Trust.

   F. Dissolution of Statutory Committees and Cessation of Fee and Expense Payment

        On the Effective Date, any statutory committee appointed in this Chapter 11 Case shall
dissolve automatically and the members thereof shall be released and discharged from all rights
and duties arising from, or related to, this Chapter 11 Case, except that the UCC will stay in
existence solely for the limited purposes of (a) receiving payment for its fees and expenses,
including filing and prosecuting final fee applications of UCC Professionals and (b) participating
in any appeals of the Confirmation Order. The Debtor, the Estate, and the GUC Trust shall not be
responsible for paying any fees or expenses incurred by any statutory committee appointed in this
Chapter 11 Case after the Effective Date.




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                                  ARTICLE VII.
                         PROCEDURES FOR DISPUTED CLAIMS

   A. Objections to Prepetition Claims

        As of the Effective Date, objections to, and requests for estimation of Claims against the
Debtor may only be interposed and prosecuted by the GUC Trustee. Such objections and requests
for estimation shall be served and filed on or before the Claims Objection Bar Date.

   B. Allowance of Claims

       After the Effective Date, the GUC Trustee shall have and shall retain any rights and
defenses that the Debtor had with respect to any Claim, except with respect to any Claim deemed
Allowed under the Plan or Allowed by Final Order prior to the Effective Date. Except as expressly
provided in the Plan or in any order entered in the Chapter 11 Case prior to the Effective Date,
including the Confirmation Order, no Claim shall become an Allowed Claim unless and until such
Claim is deemed Allowed under the Plan or the Bankruptcy Code or the Bankruptcy Court has
entered a Final Order, including the Confirmation Order, in the Chapter 11 Case allowing such
Claim.

   C. Estimation of Claims

        The GUC Trustee may at any time request that the Bankruptcy Court estimate any
contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code
regardless of whether any party in interest previously objected to such Claim or whether the
Bankruptcy Court has ruled on any such objection. In the event that the Bankruptcy Court
estimates any contingent, unliquidated, or Disputed Claim, the amount so estimated shall constitute
either the Allowed amount of such Claim or a maximum limitation on such Claim, as determined
by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the amount
of such Claim, the GUC Trustee may pursue supplementary proceedings to object to the Allowance
of such Claim. All of the aforementioned objection, estimation, and resolution procedures are
intended to be cumulative and not exclusive of one another. Claims may be estimated and
subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by the
Bankruptcy Court.

   D. No Distributions Pending Allowance

       No payment or distribution provided under the Plan shall be made on account of a Disputed
Claim unless and until such Disputed Claim becomes an Allowed Claim.

   E. Resolution of Claims

        Except as otherwise provided herein (including the release provisions hereof) or in the
GUC Trust Agreement, Confirmation Order, or in any contract, instrument, release, or other
agreement or document entered into in connection with the Plan, in accordance with
section 1123(b) of the Bankruptcy Code, on and after the Effective Date, the GUC Trustee may
enforce, sue on, settle, or compromise (or decline to do any of the foregoing) all Claims, Disputed
Claims, rights, Causes of Action, suits and proceedings, whether in law or in equity, whether


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known or unknown, that the GUC Trustee may hold against any person, and any contract,
instrument, release, indenture, or other agreement entered into in connection herewith. The GUC
Trustee may pursue any retained Claims, rights, Causes of Action, suits, or proceedings, as
appropriate, in accordance with the Plan and the GUC Trust Agreement.

   F. Retained Amounts

         The GUC Trustee shall withhold and retain from distribution (a) an amount sufficient to
pay holders of Disputed Claims the amount such holders would be entitled to receive under the
Plan if such Claims were to become Allowed Claims, (b) such lesser amount as estimated by the
Bankruptcy Court, or (c) such lesser amount as agreed to between the GUC Trustee and the holders
thereof. As Disputed Claims are resolved pursuant to Article VII hereof, the GUC Trustee shall
make distributions on account of such Disputed Claims as if such Disputed Claims were Allowed
Claims as of the Effective Date. Such Distributions shall be made on the first Distribution Date
that is at least forty-five (45) days after the date on which a Disputed Claim becomes an Allowed
Claim, or on an earlier date selected by the GUC Trustee in its sole discretion.

   G. Late Filed Claims

        Except as otherwise provided herein or as agreed by the GUC Trustee, any Proof of Claim
filed after the Bar Date with respect to such Claim shall be deemed Disallowed and expunged as
of the Effective Date without any further notice to or action, order, or approval of the Bankruptcy
Court, and holders of such Claims may not receive any distributions on account of such Claims,
unless such late Proof of Claim has been deemed timely filed by a Final Order.

   H. Amendments to Claims

        A Claim may not be filed, amended, or supplemented without the prior written
authorization of the Bankruptcy Court or the GUC Trustee, and any such new, amended, or
supplemented Claim filed shall be deemed Disallowed in full and expunged without any further
notice to or action, order, or approval of the Bankruptcy Court to the maximum extent permitted
by applicable law.

                               ARTICLE VIII.
                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

   A. Rejection of Executory Contracts and Unexpired Leases

        On the Effective Date, except as otherwise provided in the Plan or in any contract,
instrument, release, indenture, or other agreement or document entered into in connection with the
Plan, all Executory Contracts and Unexpired Leases shall be deemed rejected, without the need
for any further notice to or action, order, or approval of the Bankruptcy Court, as of the Effective
Date under section 365 of the Bankruptcy Code, and regardless of whether or not such Executory
Contract or Unexpired Lease is identified on the Schedule of Rejected Executory Contracts and
Unexpired Leases, unless such Executory Contract or Unexpired Lease: (a) was previously
assumed or rejected by the Debtor, pursuant to a Final Order of the Bankruptcy Court;
(b) previously expired or terminated pursuant to its own terms or by agreement of the parties
thereto; (c) is the subject of a motion to assume, assume and assign, or reject filed by the Debtor


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on or before the date of entry of the Confirmation Order; or (d) with the consent of the UCC, is
specifically designated as a contract or lease to be assumed on the Schedule of Assumed Executory
Contracts and Unexpired Leases. Each Executory Contract and Unexpired Lease assumed
pursuant to this Article VIII.A of the Plan or by any order of the Bankruptcy Court, which has not
been assigned to a third party prior to the Effective Date, shall revest in and be fully enforceable
by Jones in accordance with its terms, except as such terms are modified by the provisions of the
Plan or any order of the Bankruptcy Court authorizing and providing for its assumption under
applicable federal law.

        Entry of the Confirmation Order by the Bankruptcy Court shall, subject to and upon the
occurrence of the Effective Date, constitute a Final Order approving the assumptions and/or
rejections of the Executory Contracts and Unexpired Leases assumed, assumed and assigned,
and/or rejected pursuant to the Plan. Any motions to assume Executory Contracts or Unexpired
Leases pending on the Effective Date shall be subject to approval by the Bankruptcy Court on or
after the Effective Date by a Final Order.

        Notwithstanding anything to the contrary in the Plan, the UCC reserves the right to alter,
amend, modify, or supplement the Schedule of Assumed Executory Contracts and Unexpired
Leases and/or the Schedule of Rejected Executory Contracts and Unexpired Leases to add or
remove any Executory Contract or Unexpired Lease at any time prior to the Effective Date. The
UCC shall provide notice of any amendments to the Schedule of Assumed Executory Contracts
and Unexpired Leases and/or the Schedule of Rejected Executory Contracts and Unexpired Leases
to the parties to the Executory Contracts or Unexpired Leases affected thereby.

        For the avoidance of doubt, the Premarital Agreement shall be rejected under the Plan, and
all Claims arising thereunder shall be treated as Subordinated Claims.

   B. Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim
with respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases,
pursuant to the Plan or the Confirmation Order, if any, must be Filed with the Bankruptcy Court
within thirty (30) days after the later of (a) the date of notice of entry of an order of the Bankruptcy
Court (including the Confirmation Order) approving such rejection; (b) the effective date of such
rejection; or (c) the Effective Date. Any Claims arising from the rejection of an Executory
Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time may be
Disallowed, forever barred from assertion, and may not be enforceable against the Debtor,
the Debtor’s Estate, or its property. For the avoidance of doubt, the notice of the occurrence of
the Effective Date served on all parties in interest shall include provisions setting forth the deadline
for filing Proofs of Claim with respect to Claims arising from the rejection of Executory Contracts
or Unexpired Leases pursuant to the Plan and Confirmation Order.

        The UCC and the GUC Trustee reserve the right to classify any Claims arising from the
rejection of the Debtor’s Executory Contracts or Unexpired Leases as Subordinated Claims.




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   C. Cure of Defaults for Executory Contracts and Unexpired Leases Assumed

        Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
or assumed and assigned pursuant to the Plan and the Confirmation Order shall be satisfied,
pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default amount in Cash
on the Effective Date, subject to the limitation described below, or on such other terms as the
parties to such Executory Contracts or Unexpired Leases may otherwise agree
(the “Cure Amount”). In the event of a dispute regarding (a) the amount of any payments to cure
such a default; (b) the ability of the Debtor, as applicable, to provide “adequate assurance of future
performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
Contract or Unexpired Lease to be assumed or assumed and assigned; or (c) any other matter
pertaining to assumption, the cure payments required by section 365(b)(1) of the Bankruptcy Code
shall be made following the entry of a Final Order or orders resolving the dispute and approving
the assumption or assumption and assignment. At least ten (10) calendar days prior to the deadline
to object to Confirmation of the Plan, the UCC shall provide for notices of proposed assumption
or assumption and assignment and proposed Cure Amounts to be sent to applicable counterparties
and for procedures for objecting thereto and resolution of disputes by the Bankruptcy Court. Any
objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed
assumption or assumption and assignment or related Cure Amount must be Filed, served,
and actually received by the UCC by the deadline to object to Confirmation of the Plan. Any
counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the
proposed assumption, or proposed assumption and assignment, or Cure Amount will be
deemed to have consented to such matters and will be deemed to have forever released and
waived any objection to such proposed assumption, proposed assumption and assignment,
and Cure Amount. To the extent an Executory Contract or Unexpired Lease is deemed rejected
pursuant to Article VIII.A hereof, but the subject counterparty did not receive notice of such
rejection by the UCC, such counterparty shall be afforded the ability to dispute whether such
assumption satisfies the requirements of Section 365(b) of the Bankruptcy Code; provided that, to
the extent the UCC and the subject counterparty are unable to consensually resolve any such
dispute or the Court determines a Cure Amount in an adverse manner to the UCC, the UCC may
deem such Executory Contract or Unexpired Lease to be rejected as of the Effective Date.

        Assumption or assumption and assignment of any Executory Contract or Unexpired Lease
pursuant to the Plan shall result in the full release and satisfaction of any Claims or defaults,
whether monetary or nonmonetary, including defaults of provisions restricting the change in
control or ownership interest composition or other bankruptcy-related defaults, arising under any
assumed or assumed and assigned Executory Contract or Unexpired Lease at any time prior to the
effective date of assumption or assumption and assignment, as applicable. Any counterparty to an
Executory Contract or Unexpired Lease that does not timely object to the notice of the proposed
assumption or assumption and assignment of such Executory Contract or Unexpired Lease shall
be deemed to have consented to the assumption or assumption and assignment, as applicable, of
the applicable Executory Contract or Unexpired Lease notwithstanding any provision thereof that
purports to: (a) prohibit, restrict, or condition the transfer or assignment of such contract or lease;
(b) terminate or modify, or permit the termination or modification of, a contract or lease as a result
of any direct or indirect transfer or assignment of the rights of the Debtor under such contract or
lease or a change, if any, in the ownership or control of the Debtor under such contract or lease to
the extent contemplated by the Plan; (c) increase, accelerate, or otherwise alter any obligations or


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liabilities of the Debtor under such Executory Contract or Unexpired Lease; or (d) create or impose
a Lien upon any property or asset of the Debtor. Each such provision shall be deemed to not apply
to the assumption or assumption and assignment of such Executory Contract or Unexpired Lease
pursuant to the Plan and counterparties to assumed Executory Contracts or Unexpired Leases that
fail to object to the proposed assumption or assumption and assignment in accordance with the
terms set forth in this Article VIII.C, shall forever be barred and enjoined from objecting to the
proposed assumption or assumption and assignment or to the validity of such assumption or
assumption and assignment (including with respect to any Cure Amounts or the provision of
adequate assurance of future performance), or taking actions prohibited by the foregoing or the
Bankruptcy Code on account of transactions contemplated by the Plan.

                                   ARTICLE IX.
                          RETENTION OF EXEMPT PROPERTY

       All of the Exempt Assets shall be retained by Jones.

                                     ARTICLE X.
                             RELEASES AND EXCULPATIONS

   A. Releases

       Notwithstanding anything contained in the Plan to the contrary, pursuant to
section 1123(b) of the Bankruptcy Code, in exchange for good and valuable consideration,
the adequacy of which is hereby confirmed, each Released Party is deemed to be, hereby
conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged
by the Releasing Parties, as applicable, from any and all claims and Causes of Action asserted
by or assertable on behalf of the Releasing Parties, whether known or unknown, foreseen or
unforeseen, matured or unmatured, existing or hereafter arising, contingent or non-
contingent, in law, equity, contract, tort or otherwise Notwithstanding anything to the
contrary in the foregoing, the releases set forth above do not release any post-Effective Date
obligations of any party or Entity under the Plan, the Confirmation Order, or any document,
instrument, or agreement executed to implement the Plan or any Claim or obligation arising
under the Plan. For the avoidance of doubt, Jones shall not be a Released Party and there
shall be no release or exculpation of the Trust Causes of Action, the Non-Dischargeable
Claims, or any other Claims or Causes of Action against Jones, non-minor members of his
immediate family, or their Insiders or Affiliates, as applicable, subject to the ability of
Insiders and Affiliates of Jones to become a Released Party by making a Release Settlement
Payment.

   B. Exculpations

       Except as otherwise specifically provided in the Plan, no Exculpated Party shall have
or incur liability for, and each Exculpated Party is hereby released and exculpated from, any
Cause of Action or Claim whether direct or derivate related to any act or omission in
connection with, relating to, or arising out of the Chapter 11 Case from the Petition Date to
the Effective Date, the formulation, preparation, dissemination, negotiation, or Filing of the
Plan, the Specific Disclosure Statement, the Plan Supplement, or any contract, instrument,



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release, or other agreement or document created or entered into before or during the
Chapter 11 Case in connection with the Plan, any preference, fraudulent transfer, or other
avoidance Claim arising pursuant to chapter 5 of the Bankruptcy Code or other applicable
law, the Filing of the Chapter 11 Case, the pursuit of Confirmation, the pursuit of
consummation of the Plan, the administration and implementation of the Plan, including the
issuance of GUC Trust Interests pursuant to the Plan, or the distribution of property under
the Plan or any other related agreement, or upon any other act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date related
or relating to any of the foregoing, except for Claims related to any act or omission that is
determined in a Final Order to have constituted willful misconduct, gross negligence, or
actual fraud, but in all respects such Exculpated Parties shall be entitled to reasonably rely
upon the advice of counsel with respect to their duties and responsibilities pursuant to
the Plan and the Confirmation Order.

       The Exculpated Parties set forth above have, and upon Confirmation of the Plan,
shall be deemed to have, participated in good faith and in compliance with applicable law
with respect to the solicitation of votes and distribution of consideration pursuant to the Plan
and, therefore, are not and shall not be liable at any time for the violation of any applicable
law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan or
such distributions made pursuant to the Plan.

                                  ARTICLE XI.
                    CONDITIONS PRECEDENT TO EFFECTIVENESS

       It shall be a condition to the Effective Date of the Plan that the following conditions shall
have been satisfied or waived, provided that the UCC may, in its sole discretion, waive any such
condition.

       1.      The GUC Trust shall be established and the GUC Trust Assets vested therein;

       2.      The Professional Fee Escrow Account shall have been funded;

       3.      Jones shall have complied with his obligation to deliver the Jones Full Disclosure;

      4.     the Bankruptcy Court shall have approved the Specific Disclosure Statement,
which may be approved by the Confirmation Order; and

       5.      The Bankruptcy Court shall have entered the Confirmation Order, which shall be a
Final Order, in form and substance reasonably acceptable to the UCC.

                                     ARTICLE XII.
                               RETENTION OF JURISDICTION

       Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, on and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over all matters




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arising out of, or related to, the Chapter 11 Case, the Plan and the Confirmation Order pursuant to
sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:

        1.     classify, allow, or disallow Claims and direct distributions of funds under the Plan
and to hear and determine any controversies pertaining thereto;

       2.      hear and determine any and all applications and adversary proceedings and other
matters arising out of or related to the Plan;

      3.     enter and implement such orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, reversed, revoked, or vacated;

        4.      liquidate or estimate damages or determine the manner and time for such
liquidation or estimation in connection with any contingent or unliquidated Claim;

       5.      adjudicate all Claims to any Lien on any property or any proceeds thereof;

       6.      decide and resolve all matters related to the granting and denying, in whole or in
part, of any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized pursuant to the Bankruptcy Code, the Confirmation Order, or the Plan;

       7.     hear matters related to the GUC Trust, including, without limitation, discovery
matters under Bankruptcy Rule 2004;

       8.      adjudicate, decide, or resolve any and all matters related to Causes of Action that
may arise from or in connection with the consummation, interpretation, or enforcement of the Plan
or any Entity’s obligations incurred in connection therewith;

        9.     hear and determine disputes arising in connection with the interpretation,
implementation, effect, or enforcement of the Plan, the Plan Supplement, including disputes
arising under agreements, documents, or instruments executed in connection with the Plan;

       10.    adjudicate, decide, or resolve matters concerning state, local, and U.S. federal taxes
in accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

        11.     enforce all orders, judgments, injunctions, releases, exculpations, indemnifications,
and rulings entered in connection with the Chapter 11 Case with respect to any person or Entity,
and resolve any cases, controversies, suits, or disputes that may arise in connection with any person
or Entity’s rights arising from or obligations incurred in connection with the Plan;

       12.     hear and determine any disputes concerning Material Misstatements;

       13.     hear and determine any disputes concerning the Jones Transfer Obligation;

       14.    hear and determine all disputes involving the existence, nature, scope, or
enforcement of any exculpations, discharges, injunctions, and releases granted in the Plan,
including under Article XI of the Plan; and




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       15.     adjudicate, decide, or resolve matters brought pursuant to section 1142(b)
concerning the delivery and execution of documents required to effect transfers of property
necessary for consummation of transactions contemplated by the Plan, the Plan Supplement, or the
GUC Trust Agreement.

                                      ARTICLE XIII.
                                  MODIFICATION OF PLAN

        The UCC and the Sandy Hook Families may propose amendments or modifications of
the Plan at any time prior to Confirmation, without leave of the Bankruptcy Court, so long as such
amendment or modification meets the requirements of section 1127(a) of the Bankruptcy Code
and does not constitute a material modification of the Plan requiring additional disclosure under
section 1125 of the Bankruptcy Code. After the Confirmation Date, the UCC and the Sandy Hook
Families may, with approval of the Bankruptcy Court, and so long as it does not materially or
adversely affect the interests of holders of Claims, remedy any defect or omission, or reconcile
any inconsistencies in the Plan or in the Confirmation Order in such manner as may be necessary
to carry out the purposes and effect of the Plan.

                                    ARTICLE XIV.
                              MISCELLANEOUS PROVISIONS

   A. Immediate Binding Effect

        Upon the occurrence of the Effective Date, the terms of the Plan shall be immediately
effective and enforceable and deemed binding upon Jones and any and all holders of Claims
(irrespective of whether their Claims are deemed to have accepted the Plan), all Entities that are
parties to or are subject to the settlements, compromises, releases, discharges, and injunctions
described in the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor
parties to Executory Contracts and Unexpired Leases with Jones.

   B. Discharge

        The provisions of the Plan will bind Jones and all holders of Claims against Jones, whether
or not they accept the Plan. On the Effective Date, all holders of Claims will be precluded and
enjoined from asserting any Claim against Jones, Jones’s Estate, or Jones’s assets or property
based upon any transaction or any activity of any kind that have occurred prior to the Effective
Date, during the duration of the Plan; provided, however, that holders of Non-Dischargeable
Claims shall not be precluded or enjoined from asserting such Claims or from pursuing collection
actions against Jones or his present or future assets or property (other than GUC Trust Assets) with
respect to such Claims, to the extent allowable under non-bankruptcy law.

   C. Reservation of Rights

        Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court enters the Confirmation Order. None of the Filing of the Plan, any statement or
provision contained in the Plan or the taking of any action by the UCC with respect to the Plan or
the Specific Disclosure Statement shall be or shall be deemed to be an admission or waiver of any
rights of the UCC unless and until the Effective Date has occurred.


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   D. FSS Plan

       Nothing in the Plan shall affect the FSS Case or impair FSS’s ability to prosecute and
perform under the FSS Plan if confirmed. Additionally, nothing in the Plan shall limit FSS’s rights
and obligations under the FSS Plan.

   E. Entire Agreement

               Except as otherwise indicated, the Plan supersedes all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.

   F. No Admission

      Nothing in the Plan shall be deemed to be an admission or any kind on behalf of the UCC
any member of the Sandy Hook Families.

                           [Remainder of page intentionally left blank]




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